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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

JOHN NANNI,                         )
an individual,                      )
                                    )
       Plaintiff,                   )                  Case No:
                                    )
v.                                  )
                                    )
PARKWAY GRAVEL, INC.,               )
a Delaware Corporation,             )
                                    )
       Defendant.                   )
____________________________________/

                                        COMPLAINT

       Plaintiff, JOHN NANNI, an individual, by and through his undersigned counsel, hereby

files this Complaint and sues PARKWAY GRAVEL, INC., a Delaware Corporation, for injunctive

relief, attorneys’ fees and costs pursuant to 42 U.S.C. §§ 12181 et seq., (“Americans with

Disabilities Act” or “ADA”) and states as follows:

                              JURISDICTION AND PARTIES

       1.     This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §§ 12181, et seq., (the “ADA”). This Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

       2.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

       3.     Plaintiff, JOHN NANNI, (hereinafter referred to as “MR. NANNI”) is a resident of

the State of Delaware.

       4.     MR. NANNI is a qualified individual with a disability under the ADA. MR.

NANNI suffers from Post-Polio Syndrome. MR. NANNI can only walk a very limited distance

each day, and is otherwise confined to a wheelchair.



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          5.    Due to his disability, Plaintiff is substantially impaired in several major life

activities including walking and standing, and requires a wheelchair for mobility.

          6.    The Defendant, PARKWAY GRAVEL, INC., (hereinafter referred to as

“DEFENDANT”) is a Delaware Corporation registered to do business in Delaware.

DEFENDANT is the owner, lessee, and/or operator of the place of public accommodation

including the real property and improvements which is the subject of this action, to wit: Limestone

Shopping Center, generally located at 2064 Limestone Rd, Wilmington, DE 19808 (“the

Property”). The Defendant is responsible for complying with the obligations of the ADA.

          7.    All events giving rise to this lawsuit occurred in the District of Delaware.

                                           COUNT I
                              (VIOLATION OF TITLE III OF THE ADA)

          8.    The allegations set forth in the preceding paragraphs above are incorporated by

reference as if fully set forth herein.

          9.    The Property, a shopping plaza, is a place of public accommodation and is therefore

subject to Title III of the ADA.

          10.   MR. NANNI has visited the Property several times during the past year, regularly

travels to the area where the Property is situated and plans to return to the Property in the near

future.

          11.   During his visits, MR. NANNI experienced serious difficulty accessing the goods

and utilizing the services therein due to the architectural barriers as discussed herein.

          12.   MR. NANNI intends to and will visit the Property to utilize the goods and services

in the future, but fears that he will face the same barriers to access as discussed herein.

          13.   Defendant has discriminated, and continues to discriminate, against Plaintiff in

violation of 42 U.S.C. §§ 12181 et seq. and 28 C.F.R. §§ 36.304 et seq. by excluding and/or


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denying Plaintiff the benefits of the goods and services located on the Property by failing to have

accessible facilities by January 26, 1992. These barriers to access include, but are not limited to

the following items which plaintiff personally observed and/or encountered at the Property:

        A.     Plaintiff encountered inaccessible disabled use parking spaces throughout the

               Property due to a shortage of disabled use parking spaces, (just two disabled spaces

               serving a lot of well over 60 total spaces), lack of signage to identify the disabled

               use parking, lack of properly marked/painted access aisles and extremely faded

               markings. These conditions made it difficult for Plaintiff to identify the designated

               disabled parking areas.

        B.     Plaintiff encountered inaccessible curb ramps throughout the Property due to

               excessive slopes and excessively steep side flares. These conditions made it

               difficult and unsafe for Plaintiff to maneuver his wheelchair to the stores and

               increased his risk of fall and/or injury.

        C.     Plaintiff personally encountered inaccessible routes between the parking

               designated for disabled use and the tenant entrance to Limestone BBQ & Bourbon

               due to sidewalks containing excessive cross-slopes. This condition made it difficult

               for Plaintiff to safely traverse these routes and gain access to the business.

        D.     Plaintiff personally encountered an inaccessible entrance to Premier Wine & Spirits

               due to the lack of a level landing at the entrance. This condition required Plaintiff

               use extra caution to avoid a fall while approaching the door to enter the restaurant.

        E.     Plaintiff personally encountered inaccessible outdoor seating at Limestone BBQ &

               Bourbon due to an outdoor seating area that does not contain alternative seating to

               accommodate persons in wheelchairs. Consequently, the lack of alternative seating



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               to the available picnic benches made it impossible for Plaintiff to access and utilize

               the outdoor seating available to other patrons at Limestone BBQ & Bourbon.

       14.     To date, the readily achievable barriers and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance with the

provisions of the ADA.

       15.     Independent of his intent to return as a patron of the Property, Plaintiff additionally

intends to return to the Property as an ADA tester to determine whether the barriers to access stated

herein have been remedied. However, but for the above-described barriers to access, Plaintiff

would visit the Property more often.

       16.     Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on the Defendant.

       17.     Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       18.     The Plaintiff has been obligated to retain the undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and

expenses paid by Defendant pursuant to 42 U.S.C. § 12205.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff demands judgment against DEFENDANT and requests the

following injunctive and declaratory relief:

       A.      That the Court declares that the Property owned and operated by DEFENDANT is

               in violation of the ADA;




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       B.     That the Court enter an Order directing DEFENDANT to alter the facilities to make

              them accessible to and usable by individuals with disabilities to the full extent

              required by Title III of the ADA;

       C.     That the Court enter an Order directing DEFENDANT to evaluate and neutralize

              the policies and procedures towards persons with disabilities for such reasonable

              time so as to allow DEFENDANT to undertake and complete corrective

              procedures.

       D.     That the Court award reasonable attorneys’ fees, costs (including expert fees), and

              other expenses of suit, to the Plaintiff; and that the Court award such other and

              further relief as it deems necessary, just and proper.

       E.     That this Court award Plaintiff such other additional and proper relief as may be

              just and equitable.


Dated: January 12, 2022
                                     Respectfully Submitted,


                             By: /s/ David T. Crumplar
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